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                                                                                       July 15, 2022

Via ECF

Hon. Gabriel Gorenstein
United States Magistrate Judge
Southern District of New York

      Re:       In re: New York City Policing During Summer 2020 Demonstrations,
                No. 20-CV-8924
                This filing is related to all cases


Your Honor:

      The parties write jointly to ask the Court to so-order the attached Proposed Order
memorializing the Court’s rulings made during the July 11, 2022 conference. We thank
the Court for its attention to this matter.




                                                                   Respectfully submitted,

                                                                       _____/s/______


                                                                   Alison Frick




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